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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )                Civil Action No. 2:12-cv-00859
                                    )                Section I, Division 5
MARLIN N. GUSMAN, ET AL,            )                Judge Lance M. Africk
Defendants                          )                Magistrate Judge North
___________________________________ )
                                    )
MARLIN N. GUSMAN,                   )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)


  PLAINTIFFS’ JOINT MEMORANDUM IN OPPOSITION TO DEFENDANT
 GUSMAN’S MOTION FOR DECLARATORY JUDGMENT AND CONTEMPT

        The Plaintiff Class and the United States (jointly “Plaintiffs”) hereby file this

Memorandum in Opposition to Sheriff Gusman’s Motion for Declaratory Judgment and

Contempt. ECF No. 899. The Sheriff asks this Court to order implementation of the

recommendation by the Mental Health Working Group for construction of an additional

jail building (Phase III). The Sheriff also asks this Court to hold the City in contempt for

“its efforts to frustrate Defendant’s compliance with the Consent Decree by refusing to

follow the recommendations of the Mental Health Working Group.”           Plaintiffs believe

the Sheriff’s request for relief is inappropriate.
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I.       The Mental Health Working Group’s Report is Not a Court Order

         In moving for contempt, the Sheriff bears “the burden of establishing by clear and

convincing evidence: 1) that a court order was in effect, 2) that the order required certain

conduct by the respondent, and 3) that the respondent failed to comply with the court’s

order.” Am. Airlines, Inc. v. Allied Pilots Ass'n, 228 F.3d 574, 581 (5th Cir. 2000)

(quoting Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th Cir.1992)); see also Seven

Arts Pictures, Inc. v. Jonesfilm, 512 F. App’x. 419, 422 (5th Cir. 2013). Clear and

convincing evidence is the “weight of proof which produces in the mind of the trier of

fact a firm belief or conviction as to truth of the allegations sought to be established,

evidence so clear, direct and weighty and convincing as to enable fact finder to come to a

clear conviction, without hesitancy, of the truth of the precise facts of the case.”

Travelhost, Inc. v. Blandford, 68 F.3d 958, 961 (5th Cir.1995); Shafer v. Army & Air

Force Exch. Serv., 376 F.3d 386, 396 (5th Cir. 2004).

         The Sheriff’s Motion references the Court’s May 5, 2014 Order creating the

Mental Health Working Group, ECF No. 668; the June 25, 2014 Order scheduling the

parties’ briefing and the Mental Health Working Group’s review on mental health

housing proposals, ECF No. 689; the September 6, 2014 report of the Mental Health

Working Group, ECF No. 899-2; and the Consent Judgment entered in this case. ECF

No. 466. None of these referenced documents include an order from the Court directing

the parties to implement the recommendations of the Mental Health Working Group.

Indeed, by requesting relief that the Court “render Declaratory Judgment declaring that ...

the Mental Health Working Group report be implemented immediately,” ECF No. 899 at

1, the Sheriff is tacitly admitting that the Court has not ordered such relief previously.



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Without an extant court order, the City cannot “be held in contempt for its efforts to

frustrate Defendant’s compliance with the Consent Decree by refusing to follow the

recommendations of the Mental Health Working Group.” Id. (emphasis added).

         The Mental Health Working Group was created to “be of assistance in resolving

issues pertaining to mental health care” at the Orleans Parish jail system. ECF No. 668 at

2. The parties were directed to brief the Mental Health Working Group on proposals for

a “detailed plan relative to long-term housing of male and female inmates with acute and

sub-acute mental health issues.” ECF No. 689 at 2. The Mental Health Working Group

was directed to “review such plans, confer with the parties as necessary, and formulate its

own proposed plan,” to submit to the Court. Id. at 3. Following the parties’ submission

of proposals and responses, the Mental Health Working Group issued its report on

September 6, 2014, which concluded that the Sheriff’s plan to house prisoner mental

health services in a new “Phase III” jail building “is the better option.” ECF No. 899-2 at

4.1

         In creating the Mental Health Working Group and requesting the parties’

proposals, the Court repeatedly “emphasized that the Sheriff and the City should work

together outside of the litigation framework to resolve these issues.” Id. at 2. The task of

the Mental Health Working Group was to evaluate mental health housing plans, but any

recommendation made as to the best way to provide care would still only be implemented

within the confines of local political processes. See, e.g., Harris v. City of Philadelphia,

No. CIV.A.82-1847, 2000 WL 1978, at *17 (E.D. Pa. Dec. 23, 1999) (ordering

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          The Mental Health Working Group based its recommendations on the parties’ proposals, the jail
population at the time, and the “lack of adequate, actual data, regarding the current mental health housing
situation.” Id. Plaintiffs note that while the members of the Mental Health Working Group include
medical and psychiatric experts, as well as the Sheriff’s then-Jail Administrator and attorney, the Group
does not include any criminologists or experts on correctional population management or projections.

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defendants to conduct a planning process to construct new facilities and close or renovate

existing ones, but noting that the decision to construct a new prison was made by city

officials and not the court).            The Mental Health Working Group report was a

recommendation pertaining to the best way to provide mental health care at OPP. The

report was not an order of the Court for the construction of an additional jail building.

This precludes a finding of contempt for “frustrating” compliance with such

recommendations.

II.       The Sheriff’s Request for Declaratory Judgment Runs Afoul of the PLRA

          Not only is there no existing court order with which the City could be found in

contempt, the Prison Litigation Reform Act (“PLRA”) places barriers on the Court’s

authority to enter any such order. The PLRA imposes a number of restrictions on the

prospective relief a court can order in any civil action involving “prison conditions.”

18 U.S.C. § 3626(a).          All relief must be narrowly drawn, extend no further than

necessary, and be the least intrusive means necessary to correct a violation of federal

rights.    18 U.S.C. § 3626(a)(1)(A).             Moreover, the statute specifically states that:

“[n]othing in this section shall be construed to authorize the courts, in exercising their

remedial powers, to order the construction of prisons. . . .” 18 U.S.C. § 3626(a)(1)(C). In

requesting declaratory judgment requiring implementation of the Mental Health Working

Group’s recommendation for a new Phase III jail building, the Sheriff is seeking an order

for prospective relief that would require “the construction of prisons.”2


2
         The PLRA would not prohibit an order to renovate or retrofit an existing jail facility. See, e.g.,
Brown v. Plata, 563 U.S. 493, 131 S. Ct. 1910, 1964 (2011) (Scalia, J., dissenting) (stating that “a more
targeted program, involving the repair and perhaps the expansion of current medical facilities (as opposed
to general prison facilities), might be manageable.”); Plata v. Schwarzenegger, No. C01-1351 TEH, 2009
WL 799392, at *12 (N.D. Cal. Mar. 24, 2009) aff'd in part, dismissed in part on other grounds, 603 F.3d
1088 (9th Cir. 2010) (distinguishing between orders authorizing renovations of health-care facilities at
existing prisons from construction of prisons; Goff v. Harper, 59 F. Supp. 2d 910, 925 (S.D. Iowa 1999)

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         Plaintiffs seek to ensure that all Orleans Parish prisoners are held under

constitutional conditions and in a manner that enables “constitutionally adequate” mental

health care. Farmer v. Brennan, 511 U.S. 825, 847 (1994); Estelle v. Gamble, 429 U.S.

97, 103-05 (1976); Consent Judgment (ECF No. 466) at § IV.B. Plaintiffs consistently

have argued for a solution that will ensure adequate housing and services in the most

timely manner. Indeed, Plaintiffs raised with the Court the Phase II design problems and

advocated a retrofit of the Phase II jail facility nearly two and a half years ago. See

Plaintiffs’ Supplemental Memorandum in support of the Amended Proposed Consent

Judgment (ECF No. 439). Unfortunately, no action was taken in response. Neither

Plaintiffs nor the Court can impose specific housing decisions on the Orleans Parish

Prison without a finding that the relief complies with the PLRA.                                18 U.S.C. §

3626(a)(1)(A). Absent a stipulation or evidentiary hearing addressing PLRA compliance,

the Court is unable to make such a finding.

         Nor do the Plaintiffs or the Court seek to disrupt City and Parish political

processes for determining the best solution to the Phase II design problems. As the Court

has stressed, the specific decision on how and where to house prisoners with mental

illness and other special needs must be determined through the proper political and

administrative processes. ECF No. 689 at 2; see also Harris, 2000 WL 1978 at *17. 3



(ordering defendants to construct indoor exercise facilities in all cell houses and covered outdoor exercise
areas in the special needs units, and provide equipment for both). However, any such order would still
need to be supported by findings demonstrating the PLRA’s needs, narrowness, and intrusiveness
requirements. 18 U.S.C. § 3626(a)(1)(A).
3
          The City has been clear that only a retrofit of Phase II is authorized by political process, going so
far as to sue the Sheriff in state court to force compliance with local ordinance. City of New Orleans v.
Gusman, case no. 15-6070 (Orleans Parish Civil District Court). Various community groups filed an
amicus brief in that litigation iterating political support for the City’s position. The City Council likewise
affirmed its opposition to an additional jail building and called for a retrofit of Phase II again in August
2014 through Council Resolution no. 14-347. The Sheriff has failed to comply with this clear political

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Importantly, the Sheriff has no formal proposal or permit request to build a Phase III jail

pending before the City Council. The Sheriff cannot obtain from this Court what he has

failed to seek through the proper political channels, particularly in light of the PLRA’s

strictures.

III.      Conclusion

         The Sheriff’s Motion for Declaratory Judgment and for Contempt should be

denied because (a) the Mental Health Working Group’s report was a recommendation,

not a Court order; and (b) the PLRA presents a barrier to entering such an order.




mandate and instead seeks to impose his will through this Court process. The burden is—and has been—
on the Sheriff to devise a housing plan that complies with both the Constitution and local law, but he has
not done so. The City has been clear in what is politically authorized through the political process. The
Sheriff lambasts the City for not authorizing an additional jail building, but Plaintiffs are frustrated that all
parties have known for years that an additional jail building is not authorized by local law, yet the Sheriff
failed to take steps to reach a solution that comports with local political will, presumably assuming this
Court would intervene as he now asks it to do.

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                            Respectfully submitted,



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                                    CERTIFICATE

       I hereby certify that a copy of the foregoing Motion has been served upon all
counsel of record by notice from the Court’s CM/ECF system, this the 20th day of
October, 2015.

/s/ Katie M. Schwartzmann
Katie Schwartzmann




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